                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         DOCKET NO. 3:16-cv-00819-FDW-DCK


JUSTIN DRISKELL,                                )
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )
                                                )                    JUDGMENT
SUMMIT CONTRACTING GROUP, INC.,                 )
                                                )
        Defendant.                              )
                                                )
                                                )



        Pursuant to the Order of the United States Court of Appeals for the Fourth Circuit entered

September 24, 2020, and the mandate issued and docketed in this Court on November 6, 2020,

it is hereby ORDERED that JUDGMENT shall be entered in favor of the Plaintiff and against

the Defendant, as follows: Plaintiff shall have judgment against the Defendant in the total

amount of $726,600 plus pre-judgment interest, as follows:

        1.)     $250,000 in punitive damages on his wrongful discharge (tort) claim (reduced

                from the jury’s award of $681,000, pursuant to N.C. Gen. Stat. § 1D-25(b));

        2.)     $65,000 in untrebled compensatory damages pursuant to his claim under the North

                CarolinaRetaliatory Employment Discharge Act, N.C. Gen. Stat. § 95-240 et seq.,

                together with interest to be calculated by the Clerk at the legal rate of 8% per

                annum running from July 20, 2015 to entry of Judgment, pursuant to N.C. Gen.

                Stat. § 24-5; AND

        3.)     $411,600 in attorneys’ fees pursuant to N.C.Gen. Stat. § 95-243.


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 IT IS SO ORDERED.

                       Signed: March 23, 2021




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